
Upon consideration of the conditional petition filed on the 24th of August 2015 by Third Party Plaintiff (Neuisys, LLC) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 5th of November 2015."
Upon consideration of the conditional petition filed on the 24th of August 2015 by Third Party Plaintiff (Neuisys, LLC) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 5th of November 2015."
